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5
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6

7
                        UNITED STATES BANKRUPTCY COURT
8
                        EASTERN DISTRICT OF WASHINGTON
9

10
     In Re:
11
     EASTERDAY RANCHES, INC.                           Case No.        21-00141-WLH11
12

13                            Debtor1.                 OBJECTION OF:
                                                       Pegram Construction, LLC
14

15                                                     TO:
                                                       SECOND AMENDED
16                                                     DISCLOSURE STATEMENT FOR
17
                                                       THE SECOND AMENDED JOINT
                                                       CHAPTER 11 PLAN OF
18                                                     LIQUIDATION OF EASTERDAY
19
                                                       RANCHES, INC. AND
                                                       EASTERDAY FARMS
20

21
     1The Debtors along with their case numbers are as follows: Easterday Ranches, In. (21-00141-WLH11)
22
     and Easterday Farms, a Washington general partnership (21-00176-WLH11).
     OBJECTION -1                                                                            Stephen J. Felice
23                                                                                          Stephen J Felice Lawyers
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1

2           COMES NOW Pegram Construction, LLC (“Pegram”) by and through its

3    counsel, Stephen J. Felice, and submits this Objection to the Disclosure Statement for

4    the Second Amended Joint Chapter 11 Plan of Liquidation of Easterday Ranches, Inc.
5    and Easterday Farms (Doc. 1283).
6
                                    CLAIM DESCRIPTION
7

8
            Pegrams’ Proof of Claim (Claim No. 29-1) filed in Easterday Ranches (21-00141-

9    WLH11) totals $123,984.00.

10                     OBJECTIONS TO DISCLOSURE STATEMENT
11
            Section 1125(b) requires that a disclosure statement contain adequate
12
     information. The term “adequate information” is defined in Section 1125(a)(1), and
13
     includes such information as is necessary for a hypothetical investor to make an
14
     informed judgment about a proposed plan of reorganization. In determining whether
15

16   a disclosure statement provides adequate information, the Court shall consider the

17   complexity of the case, the benefit of additional information to creditors and other

18   parties in interest, and the cost of providing additional information. 11 U.S.C. §

19   1125(a)(1). In addition, LBR 3017-1(a) requires that a disclosure statement contain
20   detailed information in twelve categories. Pegram objects to the Disclosure Statement
21   as follows:
22
     OBJECTION -2                                                             Stephen J. Felice
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     1.    Lack of Adequate Information Regarding Treatment of Pegrams’ Claim.
1

2                 1.1    The Disclosure Statement describes the treatment for Pegrams’

3    Class I “Other Secured Claims”:

4
                  The legal, equitable, and contractual rights of Holders of
5                 Allowed Class 1 Claims are unaltered by the Plan and the
                  Liens of the Holders of Allowed Class 1 Claims will continue
6                 to attach to their respective Collateral, provided that all such
                  Claims shall remain subject to any and all defenses,
7                 counterclaims, and setoff or recoupment rights with respect
                  thereto. Unless the Liquidation Trustee and the Holder of an
8                 Allowed Class 1 Claim agree to other treatment, on or as
                  soon as is reasonably practicable after the Effective Date,
9                 each Holder of an Allowed Class 1 Claim shall receive, at the
                  option of the Liquidation Trustee: (i) Cash from the
10
                  Liquidation Trust in the Allowed amount of such Holder’s
11
                  Allowed Class 1 Claim; or (ii) the return of the Collateral
                  securing such Allowed Class 1 Claim, without
12                representation or warranty by any Person (and without
                  recourse against any Person regarding such Other Secured
13                Claim); or (iii) (A) the cure of any default, other than a
                  default of the kind specified in Bankruptcy Code section
14                365(b)(2), that Bankruptcy Code section 1124(2) requires to
                  be cured, with respect to such Holder’s Allowed Class 1
15                Claim, without recognition of any default rate of interest or
                  similar penalty or charge, and upon such cure, no default
16                shall exist; (B) the reinstatement of the maturity of such
                  Allowed Class 1 Claim as the maturity existed before any
17
                  default, without recognition of any default rate of interest or
18
                  similar penalty or charge; and (C) retention of its unaltered
                  legal, equitable, and contractual rights with respect to such
19                Allowed Class 1 Claim, including through the retention of
                  any associated Lien on the Collateral securing such Allowed
20                Class 1 Claim.
                  (Second Amended Disclosure Statement, p. 64) (76 of 146)
21

22
     OBJECTION -3                                                                Stephen J. Felice
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                   Pegram has not been provided with any backup information which
1
     supports assumptions set forth in the Waterfall Analysis in the Disclosure Statement
2
     and proposed Plan.
3

4                  Pegram has not been advised that their claim is provided for in “Class I:
5    Other Secured Claims.” Pegram has not been provided with any information as to
6
     which other creditors are in this class or how the total claims of $1,559,000 is
7
     determined.
8
                   The Waterfall Analysis and Plan list other secured claims at a total of
9
     $1,599,000 and divides this between $60,000 for mechanic/preparer liens with the
10

11
     remainder identified as equipment liens. The Disclosure Statement and Plan may not

12   be adequate to pay Pegrams’ mechanic/preparer liens claim and possibly other

13   mechanic/preparer liens claims. A plan is required to treat claimants equitably and

14   the Disclosure Statement does not provide sufficient information to determine if this is

15   being accomplished.
16
                   1.2    Any portion of Pegrams’ claim which is not paid 100% in Class I
17
     will become undersecured/unsecured claims in Class 6.
18

19
                   1.3    The Disclosure Statement describes the treatment for “Ranches
20
     General Unsecured Claims” in Class 6 as follows:
21

22
     OBJECTION -4                                                               Stephen J. Felice
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                Class 6 consists of all Ranches General Unsecured Claims.
1               Class 6 is Impaired under the Plan. On or as soon as
                practicable after the Effective Date, each Holder of an
2
                Allowed Ranches General Unsecured Claim shall receive, as
                the sole distribution or dividend by Ranches or its Estate
3
                under the Plan on account of such Allowed Ranches General
4               Unsecured Claim, a Pro Rata share of the Class A
                Liquidation Trust Interests in the Liquidation Trust
5               calculated as a percentage of all Allowed Ranches General
                Unsecured Claims), which shall entitle such Holder to the
6               treatment contemplated in the Plan Waterfall and a share of
                any Net Distributable Assets consistent with the
7               immediately following paragraph.
8               The Plan Waterfall reflects that Holders of Ranches General
                Unsecured Claims shall receive the first $1.2 million of the
9
                first $4.2 million from any source available for distribution to
                Classes 6, 7, and 8, the next $3.0 million of such proceeds
10
                shall be distributed Pro Rata to Holders of Tyson Claims and
11              Segale Claims, and except with respect to proceeds of any
                claims against Cody Easterday (other than for proceeds of
12              the Basin City Property) and except with respect to any
                proceeds of the North Lot Actions, the remainder of any Net
13              Distributable Assets shall be distributed Pro Rata to Holders
                of Ranches General Unsecured Claims, Tyson Claims, and
14              Segale Claims.
15              Notwithstanding anything to the contrary herein, each
                Holder of a Class 6 Claim shall be required to check a box on
16              its Ballot, or otherwise notify the Debtors or the Liquidation
                Trust in writing, if such Holder agrees to affirmatively and
17
                voluntarily assign, transfer, and convey any individual
18              Causes of Action of such Holder against the Easterday
                Family and their Related Parties to the Liquidation Trust
19              (the “Assignment of Easterday Family Causes of Action”).²⁷
                The Debtors shall timely inform the Ranches Committee of
20              the results of the Assignment of Easterday Family Causes of
                Action, including any defects or suspected mistakes therein.
21              The Debtors shall provide Holders of a Class 6 Claim with a
                reasonable opportunity to cure any defects or mistakes or
22              otherwise notify the Debtors in writing of the Assignment of
     OBJECTION -5                                                              Stephen J. Felice
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                  Easterday Family Causes of Action (including a reasonable
1                 time after the Voting Deadline). If a Holder of a Class 6
                  Claim does not check such box on its Ballot or otherwise
2
                  notify the Debtors or the Liquidation Trust in writing, the
                  distributions to such Holder of Ranches General Unsecured
3
                  Claims under the Plan shall be reduced to an amount equal
4                 to [twenty percent (20%)] of such Holder’s Allowed Class 6
                  Claim, regardless of whether Class 6 votes in favor of the
5
                  Debtors have failed to identify the creditors with allowed claims in Class
6

7
     5 or Class 6 with allowed claim amounts preventing Pegram from determining who

8    they are associated with and the dollar amount of claims of creditors included in Class

9    5 and 6.

10
                  1.4    Debtors have set forth on the Waterfall Analysis their
11
     assumptions but have failed to supply Pegram current financial information required
12
     by LBR 3017-1(3) and a liquidation analysis required by LBR 3017-1(6).
13

14

15                1.5    Debtors’ Waterfall Analysis at Page 8(d), Debtors assume that
16   Washington Trust Bank will have a net undersecured claim of approximately $11.5M
17   which without explanation, they assume will be paid in full vs. Farms and Ranches
18
     unsecured claimants receiving only a percentage of their unsecured claims. Creditors
19
     are not given enough time to evaluate this deal.
20

21

22
     OBJECTION -6                                                              Stephen J. Felice
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            2.      Joinder in Other Objections.
1

2                   2.1     Pegram reserves the right to join in any objections filed by other

3    parties in interest.

4
            3.      Conclusion.
5
                    3.1     For the reasons stated above, Pegram objects to approval of the
6
     Disclosure Statement for the Second Amended Joint Chapter 11 Plan of Liquidation of
7

8
     Easterday Ranches, Inc. and Easterday Farms (Doc. 1382).

9           ///End of Body of Document///
10

11

12

13

14

15

16

17          DATED: March 9, 2022                                 /s/ Stephen J. Felice
                                                         ________________________________
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                                                         Attorney for Debtor
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                                                         (509) 488-3303
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22
     OBJECTION -7                                                                Stephen J. Felice
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